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             (Rev. 12/07) Judgment in a Criminal Case for Revocations
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             Sheet 1                                                  #1424
                                                                                                                                                          ~z
                                              UNITED STATES DISTRICT COURT                                                                                            ~I$:
                                                                               Southern District of Illinois                       ..5'02~~f?1r'u4'Oy; ~
                                                                                                                                         It~                     7       ~
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                                                                                                                                          ~f?!\t :..5'.               <'QA
        UNITED STATES OF AMERICA                                                              Judgment in a Criminal Case                 f:J~!\t~/&?/..5'7'1Y                 f)
                             v.                                                               (For Revocation of Probation or Supervised Re1ea9~ '/}07'o'107' 0
                                                                                                                                                           'f:"j::-     'f:"    0u
                JACK THOMAS, JR.                                                                                                                                 101:- It.t.       'f?7'
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                                                                                                                                                                                    O'1..5'
                                                                                              Case No. 4:02CR40078-016
                                                                                              USM No. 05797-025
                                                                                                Susan Gentle
                                                                                                                       Defendant's Attorney
THE DEFENDANT:
~ admitted guilt to violation of condition(s)                                as alleged below                  of the tenn of supervision.
o was found in violation of condition(s)                                     _ _ _ _ _ _ _ _ _ _ after denial of guilt.
The defendant is adjudicated guilty of these violations:


Violation Number             Nature of Violation                                                                                     Violation Ended
Statutory                         The defendant committed the offense of Obstructing A                                              09/05/2010
                              : ,',,';'Ii':,!':",~', "",~:\:,"II"'>" , < /
                              .F'eace Offiq~r
Statutory                         The defendant tested positive for Hydrocodone                                                      06/29/2009



       The defendant is sentenced as provided in pages 2 through _---"-5__ of this judgment. The sentence is imposed pursuant to
the Sentencing Refonn Act of 1984.
o   The defendant has not violated condition(s) _ _ _ _ _ _ _ and is discharged as to such violation(s) condition.

          It is ordered that the defendant must notify the United States attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are
fully pa~d. ~f ordered to pay restitution, the defendant must notify the court and United States attorney of material changes III
economIC CIrcumstances.

Last Four Digits of Defendant's Soc. Sec. No.: 8925                                             11/19/2010
                                                                                                                               os·ti n O f p :
Defendant's Year of Birth:                  1980

City and State of Defendant's Residence:
McLeansboro, IL 62859
                                                                                                J. Phil Gilbert                                District Judge
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                                                             ADDITIONAL VIOLATIONS

                                                                                                       Violation
Violation Number        Nature of Violation                                                            Concluded
Standard # 2            The defendant failed to file monthly reports timely                           04/30/2010



Standard # 9            The defendant associated with a convicted felon                               05/14/2010



Standard # 11           The defendant failed to notify probation of being questioned by law           02/26/2009

                       ····e~forcen1'ent:ioffi~e.r. . ;,
                         i          ":111:':,11   ,'I::,'"


Special                 The defendant used alcohol while enrolled in substance abuse treatment        09/05/2010
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             Sheet 2- Imprisonment                                    #1426
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 DEFENDANT: JACK THOMAS, JR.
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                                                         IMPRISONMENT

          The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total
 total term of :
9 months




      o The court makes the following recommendations to the Bureau of Prisons:



      rI The defendant is remanded to the custody of the United States Marshal.
      o The defendant shall surrender to the United States Marshal for this district:
        o at _ _ _ _ _ _ _ _ _ 0 a.m. o p.m. on
        o as notified by the United States Marshal.
      o The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
        o before 2 p.m. on
        o as notified by the United States Marshal.
        o as notified by the Probation or Pretrial Services Office.
                                                               RETURN

 I have executed this jUdgment as follows:




           Defendant delivered on                                                  to

 at   _ _ _ _ _ _ _ _ _ _ _ _ _ _ with a certified copy of this judgment.




                                                                                           UNITED STATES MARSHAL


                                                                     By _____~~~~~~~~~~~~-------
                                                                                        DEPUTY UNITED STATES MARSHAL
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              Sheet 3 - Supervised Release                             #1427
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                                                                                                                               of _ _ _
  DEFENDANT: JACK THOMAS, JR.
  CASE NUMBER: 4:02CR40078-016
                                                         SUPERVISED RELEASE

  Upon release from imprisonment, the defendant shall be on supervised release for a term of:
12 months



           The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release
  from the custody of the Bureau of Prisons.
  The defendant shall not commit another federal, state or local crime.
  The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
  substance. The defendant shall submit to one drug test within 15 days of release from imprisonment ana at least two periodic drug
  tests thereafter as determined by the court.
  D      The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
         future substance abuse. (Check, if applicable.)
  t/ The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if
  t/ The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
  D      The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works,
         or is a student, as directed by the probation officer. (Check, if applicable.)
  D      The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
           If this jud~ent imposes a fine or restitution, it is be a condition of supervised release that the defendant pay in accordance
  with the Schedule of Payments sheet of this judgment.
      .. The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional
  condItIons on the attached page.

                                          ST ANDARD CONDITIONS OF SUPERVISION

  1)         the defendant shall not leave the judicial district without the permission of the court or probation officer;
  2)         the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first
             five days of each month;
  3)         the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation
             officer;
  4)         the defendant shall support his or her dependents and meet other family responsibilities;
  5)         the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training,
             or other acceptable reasons;
  6)         the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
  7)         the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
             controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
  8)         the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
  9)         the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person
             convicted of a felony, unless granted permIssion to do so by the probation officer;
  10)        the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit
             confiscation of any contraband observed in plain view of the probation officer;
  11 )       the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law
             enforcement officer;
  12)        th~ defendant sh~ll J?ot enter into any agreement to act as an informer or a special agent of a law enforcement agency
             WIthout the permISSIOn of the court; and
  13)        as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the
             defendant's criminal record or personal history or characteristics and shall permit the probation officer to make such
             notifications and to confirm the defendant's compliance with such notificatIOn requirement.
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                                     SPECIAL CONDITIONS OF SUPERVISION

The defendant shall participate as directed and approved by the probation officer in a program for treatment of narcotic
addiction, drug dependence, or alcohol dependence, which includes urinalysis or other drug detection measures and
which may require residence and/or participation in a residential treatment facility. Any participation in treatment will
require complet abstinence from all alcoholic beverages.
